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                        Exhibit C
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )      Chapter 11
In re:                                                   )      Case No. 08-13141 (KJC)
                                                         )
TRIBUNE COMPANY, et al.,                                 )      Jointly Administered
                                                         )
         Debtors.                                        )      Related Docket No. _________
                                                         )

 ORDER GRANTING MOTION OF AURELIUS CAPITAL MANAGEMENT, LP. FOR
  RECONSIDERATION OF THE COURT'S OCTOBER 31, 2011 DECISION AS IT
 PERTAINS TO THE APPLICATION OF THE PHONES NOTES SUBORDINATION

         The Court having considered the Motion of Aurelius Capital Management, LP for

Reconsideration of the Court's October 31, 2011 Decision as it Pertains to the Application of the

Phones Notes Subordination (the “Motion”), 1 and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409, and a hearing on the Motion


         1
           All capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such
terms in the Motion.
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having been held on December 13, 2011 (the “Hearing”), and the Court having considered the

evidence presented, and the arguments of counsel, in support of and in opposition to, the Motion

at the Hearing, and it appearing that notice of the Motion was due and appropriate;

       IT IS HEREBY:

       1.      ORDERED that the Motion is GRANTED in all respects; and it is further

       2.      ORDERED that, pursuant to Bankruptcy Rule 9023, reconsideration of the

Court’s October 31, 2011 Decision as it pertains to the application of the subordination

provisions contained in the PHONES Indenture to recoveries to holders of Senior Notes and

PHONES Notes is proper; and it is further

       3.      ORDERED that the PHONES Notes are subordinated to the Senior Notes with

respect to all payments from all sources, including as to the Litigation Trust and proceeds of

avoidance actions; and it is further

       4.      ORDERED that the Court retains jurisdiction to enforce the terms of this

ORDER.



Dated: ______________, 2011                  _______________________________________
                                             THE HONORABLE KEVIN J. CAREY
                                             UNITED STATES BANKRUPTCY JUDGE




                                                 2
